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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


GOVERNMENT EMPLOYEES HEALTH
ASSOCIATION, on behalf of itself and all
others similarly situated,

              Plaintiff,

v.                                         Case No. 18-cv-3560-GLR

ACTELION PHARMACEUTICALS LTD.,
et al.,
                                           REDACTED VERSION
              Defendants.


             LETTER REQUEST FOR DISCOVERY CONFERENCE
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Dated: May 23, 2022                      Sincerely,

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